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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MICHAEL UNDERWOOD,
Plaintiff,
_V_.

TAFSC HOUS[NG DEVELOPMENT
FUND CORPORATION, et al.,

Defencl ants.

 

 

RICHARD J. SULLIVAN, District Judge:

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NO_ ls-cv-6664 (RJs) (oTW)
oRDER

The above entitled action is referred to Magistrate Judge Ona T. Wang for the following

purpose(s):

General Pretrial (includes scheduling
discovery, non-dispositive pretrial motions,
and settlement)

Specific Non-Dispositive
Motion/Disputes

Purpose:

 

_X__ Settlement: The parties shall contact
Magistrate Judge Wang by August 29, 2018
to schedule a settlement conference

lnquest After Default/Damages Hearing

SO ORDERED.

Dated: August 23, 2018

New York, NeW York

Consent under 28 U.S.C. § 636(c) for
all purposes (ineluding trial)

_ Consent under 28 U.S.C. § 636(€) for
limited purpose (e.g., dispositive motion,
preliminary injunction)

Purpose:

 

Habeas Corpus
Social Security

Dispositive Motions (i_e., motion
requiring Report and Recommendation)

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RICHARD J. SULLIVAN
UNITED STATES DISTRICT JUDGE

